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                 E,XHIBIT 1
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                                              Ausfertigung
I
                                                                           Eingegangen
                                                                                0 9, Âptit ZotS

                                                                         Monnrsolr |
                                                                                          "ot*"t"*




                              Landgericht Berlin
                             lm Namen des Volkes
                                                 Urteil
    Geschäftsnummer: 15 O 62/15                         verkündet am:    31.03.2015
                                                                         Großmann
                                                                         Justlzbeschäftigte


    ln dem Verfahren auf Erlass einer einstweiligen Verftlgung

       des Herrn Matthew R. Salinger,
       handelnd unter der Geschäftebezeichnung
       ,,The J.D. Salinger Literary Trustu,
       Suite #202,
       Trugtee, JDLT, 5 River Road, Wilton, CT 06897'
       Vereinigte Staaten,

    2. de¡ Frau Colleen M. Salinger,
       handelnd unter der Geschäftsbezelchnung
            J.D. Salinger Literary Trust',
       "The
       Trustee, JDLT, 301 Lang Road, Cornish, NH 03745'
       Vereinigte Staaten,

                                                                        Antragsteller

    - Verfahrensbevollmächtigte: Reohtsanwålte
     Monison Foerster,
     Potsdamer Plalz 1, 10785 Berlín -

    gegen

    die PiperVerlag GmbH,
    vertreten durch die Geschäftsführer
    Marcel Hartges, Hans-Joachim llarmann
    und Christian Mathias SchumachEr-Gebler,
    Georgenstraße 4, 80799 MÛnchen,
                                                                        Antragsgegnerin

    - Verfahrensbevollmächtigte: Rechtsanwälte
     Senfft Kersten Nabert van Eendenburg,
     Schltiteretraße 6, 20146 Hamburg -


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                                                   2




hat die Zivilkammer 15 des Landgerichts Berlin in Berlin - Mitte, Littenstraße 12-17, 10179 Berlin,
auf die mûlndliche Verhandlung vom 10. Mäz 2015 durch den Vorsitzenden Richter am Land-
gericht Meyer-Schäfer und die Richter am Landgericht Schaber und Raddatz
für Recht erkannt:

1, Der Antragsgegnerin wird bei Meidung eines ftir jeden Fall der Zuwiderhandlung fälligen
   Ordnungsgeldes bis zu 250.000,00 Euro, ersahreise Ordnungshaft bis zu sechs Monaten
   oder Ordnungshaft bis zu sechs Monaten, díese zu vollziehen an ihrem Geschäftsfilhrer,

    untersagt,

    eine deutsche Übersetzung der Werke

    ,,The Young Folks", ,,Go See Eddie' und ,,Once a Week Won't KillYou"
    von J. D. Salinger

    in Deutschland zu vervielfältigen und/oder vervielfältigen zu lassen,
    zu verbrelten und/oder verbreiten zu lassen, ðffentlich zugänglich zu machen
    und/oder öffentlich zugänglich machen zu lassen,

    insbesondere in dem Buch

    ,Die jungen Leute - Drei Storíes"

    als Druckausgabe (l SBN : 97 8-34923-05698-4)

   zu vervielfältigen und/oder vervielfältigen zu lassen,
   zu verbreiten und/oder verbreiten zu lassen

   sowie im gleichnamigen E-Book (ISBN: 978-3-492-97053'2)

   zu vervielfälligen und/oder vervielfåltigen zu lass€n, öffentlich zugånglich zu machen
   und/oder Öffentlich zugånglich machen zu lassen,


2. Die Antragsgegnerin wird dazu verurteilt, an den Buchhandel bereits ausgelieferte
   Vervielfältigun gsstülcke der Ü be rsetzu ngen gemåß Zitler 1 zu rü ckzu rufen,


3. Die Kosten des Verfahrens werden gegeneinander aufgehoben.




                                             Tatbestand



Die Parteien streiten um die Berechtigung der Antragsgegnerin, Texte des im Januar 2010 ver-

storbenen Autoren J. D. Salinger in eínem deutschsprachigen Buch zu verwerten.



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                                                   3




Jerome David Salinger lst ein amerikanischer Autor literarischer Werke. 1965 publizierte er zuletzt

einen literarischen Text. lhm war es wichtig, seine Person und seine Werke von der Offentlichkeit

fern zu halten. Streitgegenståndlich sind die in den 1940er-Jahren verfassten Kuzgeschichten

,The Young Folks", ,Go See Eddie" und "Once a Week Won't Kill You", die J. D. Salinger in den
't94Oer-Jahren verfasste (im Folgenden kuz: ,die Geschichten"). Diese Texte wurden 1940 bzw.

1944 jeweils einmalig in US-amerikanischen Magazinen veröffentlicht (Anlage Ast 3). Zwei der Ge-

schichten wurden damals gar nicht im Reglster des US Copyright Office registriert, eine Re-

gistrierung wurde nach Ablauf der Schutzfrist (1968) nicht verlångert.



J. D, Salinger gründete am 24. Juli 2008 den ,,J. D. Salinger Literary Trust" als ,,Hilfsmittel der Ver-

wallung des literarischen Elgontums (...) gemeinsam mit sonstigem Eigentum, das vom Treugeber

oder einer anderen Person auf die Trustee übertragen werden kann, als separater Trust gemäß

den Bestimmungen dieser Urkunde- (ArbeitEtlbersetzung zur Anlage Ast 1, Auszug der Grtin-

dungsurkunde). Bis zu seinem Tod hatte der Autor sich selbst als Treuhänder des Trusts

(Trustee) elngeseÞf. In der Gründungsurkunde war bestimmt, dass danach immer zwei Trustees

wirken sollten, wobei J. D. Salinger seine Ehefrau und seinen Sohn Matthew Robert Salinger als

Co-Trustees bestimmte. Am 15. Oktober 2008 unterschrieb J. D. Salinger ein ,,Assignment of

Literary Propêrty", in dem er eine umfassende Rechteüþertragung auf den Trustee erklärte

(Anlagen Ast 4 und Ast 28).



Die Antragetellerin ist die Witwe des J. D. Sallnger, der Antragsteller sein Sohn, beide sind die am-

tierenden Trustees des Ïrusts.



Die Antragst¡egnerin ist ein deutscher Verlag. Sie kfindigte - nach ihrer Behauptung ab November

2014 - auf ihrer Webseite (www.plper.de) das Eràcheinen eines Buches mit dem Titel

,J. D. Salinger - Die jungen Leute - Drei Stories' mil ÜberseEungen der
                                                                        Geschichten in

deutscher Sprache an, zunächst für den L Mär¿ 2015, dann für den 16' Februar 2015
                                                                                               (Anlage

Ast g). Das Erscheinen dieses Buchs wurde auch auf der lntemet-Handelsplattform
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                                                  4




www.amazon.de sow¡e in Osterreich und in derSchweiz angektindigt (Anlagen Ast 9 -Ast'11).

Das Buch erschien als Druckversion und als E-Book am 16. Februar 2015 auf dem deutschen

Markt. Weder der Autor noch dle Antragsteller stimmten dem zu.



Mit Schriftsatz vom 9. Januar 2015 wies der Trust die Antragsgegnerin darauf hin, er sei lnhaber

der Urheberrechte an den Geschichten, habe keine Einwilligung erteilt und behalte sich sämtliche

Ansprftche vor (Anlage Ast 12). Die Antragsgegnerin berief sich in ihrem SchriftsaE vom

16. Januar 2015 auf einen Lizenzvertrag ,,mit amerikanischen Rechtegebern" und deren Zusage,

über alle erforderlichen Rechte zu verfügen; sie teilte mít, in erster Linie an einer Verbreitung des

Buches interessiert, jedoch gesprächsbereit zu sein (Anlage Ast 14). Beide Seíten telefonierten

miteinander. Mit Schriftsatz vom 5. Februar 2015 mahnten die Antragsteller die Antragsgegnerín

fruchtlos ab (Anlagen Ast l5 - Ast 17).



Bei dem Rechtegeber, auf den sich die Antragsgegnerin beruft, handelt es sich um den US-ame'

rikanischen Verlag Devault-Graves Agency. Dieser veröffentlichte im Juli 2014 die Geschichlen in

den Vereinigten Staaten in dem Buch "Three Early Stories" erneut (Anlage AG 1). Der Verlag hat

seine Herausgeberschaft dieser Textsammlung in den USA urhebenechtlich registrieren lassen.

Die Parteien gehen tlbereinstimmend davon aus, dass die Geschichten in den USA inzwischen

gemeinfrei geworden sind. Die Antragsteller sehen keine rechtliche Handhabe gegen den Verlag

DevaulþGraves Agency und ihre Bemilhungen, sich mit diesem außergerichtlich zu einigen, blie-

ben erfolglos.



Die Antragsteller behaupten, sie selbst hlltten erstmals am 21, und 22. Dezember 2014 davon er-

fahren, dass die Antragsgegnerin eine deutsche übersetzung der Geschichten veröffentlichen will'



Die Antragstelter berufen sich zur Glaubhaftmachung auf die schriftlichen Erklärungen des Antrag-

stellers vom 4. und 5. Februar 2015 (Anlagen Ast. 2 und Ast 13/Ast 21), der Rechtsanwältin



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                                                  5




Cynthia S. Arato vom 5. Februar 2015 (Anlage Ast 13/Ast 21) und des Rechtsanwalts

Thomas S. Csatarivom 24. Februar 2015 (Anlage Ast 25)



Die Antragsteller sind der Ansicht: Sie als Trustees seien nach Maßgabe des Trust-Rechts von

New Hampshire die lnhaber der Urheberrechte an den Geschichten. Die geltend gemachten An-

sprüche stunden ihnen nach gg 97 Abs. 1, 23 Abs. 1 UrhG, die nach dem Schutzlandprinzip hier

anzuwenden seien, zu.




Die Antragsteller haben mit ihrer Antragsschrift vom 6. Februar 2015 beantragt:


         1. Es der Antragsgegnerin unter Androhung geselzlicher Ordnungsmlttel
            zu untersagen,
            eine deutsche Übersetzung der Werke
            ,,The Young Folks", 'Go See Eddie'.und,,Once a Week Won't KillYou"
            von J, O. Sãlinger in Deutschland, Osteneich und/oder der Schweiz
            zu veröffentllchen und/oder veröffentlichen zu lassen, zu Veruerten
            und/oder verwerten zu lassen,

           insbesondere in dem Buch ,,Die jungen Leute - Drei Stories'
           als Druckausgabe (lS BN : 97 8'3'4923-05698-4)
           zu vervielfältiùen und/oder vervielfältigen zu lassen, zu verbreiten
           und/oder verbreiten zu lassen
           sowie im gleichnamigen E-Book (ISBN: 978-3-492-97053'2) zu vervielfältigen
           und/oder vervielfåltigen zu la6sen, öffentlich zugånglich zu machen
           und/oder öffentlich iugänglich machen zu lassen und/oder für den Vertrieb
           der Übersetzungen zu werben oder werben zu lassen;


         2. die Antragsgegnerin zu verpflichten, an den Buohhandel bereits ausgelieferte
            Verviefali gir n! sstücke der Ü bersetzungen gem ä ß Ziþr-1 zu rücløurufen
            und Angeb-otelum Download der Übersetzungen als E-Book gemåß Zitler I
            aus dem lntemet zu entfernen und/oder entfernen zu lassen'


                                                                                      gefasst:
Mit Schriftsatz vom 26. Februar 2015 haben die Antragsteller ihre Anträge wie folgt


         1. Es der Antragsgegnerln unter Androhung gesetzlicher Ordnungsmittel
            zu untersagen,
            eine deutsche tlbersetzung der Werke
                 Vorng Folks", ,Go Sðe Eddie" und,Once a Week Won't KillYou"
            "fnr
            von ¡. D. Sãlinger in Deutschland, Ostenoich und/oder der Schweiz
            zu vervielfälügãn und/oder vervielfåltigen zu lassen, zu verbreiten
            und/oder verÈreiten zu lassen, öffentlich zugånglich zu machen
            undloder öffentlich zugänglich machen zu lassen,

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                                                     6




           insbesondere in dem Buch ,,Die jungen Leute - Drei Stories'
           als Druckausgabe (ISBN: 978-3-4923-05698-4)
           zu vervielfältigen und/oder vervielfältigen zu lassen, zu verbreiten
           und/oder verþreiten zu lassen
           sowie im gleichnamigen E-Book (ISBN: 978-3-492-97 053-2')
           zu vervieliältigen und/oder vervlelfältigen zu lassen, öffentlich zugänglich
           zu machen und/oder öffentlich zugänglich machen zu lassen;



         2. die Antragsgegnerin zu verpflichten, die VerÖffentlichung der deutschen Über-
            setzung der Werke
            ,,The Yóung Folks", ,,Go See Eddie" und,,Once a Week Won't
                                                                           KlllYou"
            von J, D. Salingerzu beseitigen.



         B. die Antragsgegnerin zu verpflichten, an den Buchhandel bereits ausgelieferte
            Vervielfältig u n g sstÜ cke der Ü bersetzu ng en gem äß Zlþr_1 zu rllckzu rufen
            und Angebãtelum Download der Übersetzungen als E-Book gemäß ZifÍer 1
            aus dem lnternet zu entfernen und/oder entfernen zu lassen'




lm Verhandlungstermin haben die Antragsteller unter Antragszurückrahme im Übrigen
die folgenden Anträge gestellt:



            Es der Antragsgegnerin unter Androhung gesetzlicher Ordnungsmittel
            zu untersagen,
            eine deutsche Übersetzung der Werke
                  Young Folks", ,,Go See Eddie" und "Once a Week Won't Kill You"
            "The
            von ¡. O. Sãtinger in Deutschland zu vervielfältigen und/oder.vervielfältigen
            zu lassen, zu vãrbreiten und/oder verbreiten zu lassen, öffentlich zugänglich
            zu machen und/oder öffentlich zugänglich machen zu lassen,

            insbesondere in dem Buch ,Die jungen Leute - Drei Stories" als Druckausgabe
                                                                      vervíelfältigen zu lassen,
            ilSeÑ, 978-94920-05698¡) zu veÑiefaltigen und/oder
            zu verbreiten und/oder verbreiten zu lassen
            õo*i" ¡t gleichnamigen E-Book (ISBN: 978-3-492-97053-2) zu vervielfältigen '
            ,nàloO"r iervielfåltigen zu lassen, 6ffentlich zugänglich zu machen und/oder
            öffentlich zugänglich machen zu lassen;



2. (entfållt)



                                                                                    zu.verpflichten,
         3. die Antragsgegnerin unter Androhung gesetzlicher ordnungsmittel
                                                                    gu   gssiücke der Ü ber-
            a n den Buchhande i Uèreits àusget ietãñ'e Vervielfälti
                                                                       n

            setzungen gemäß ZiîÍer I zurtlckzurufen'


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                                                 7




Dio Antragsgegnerin beantragt,



         den Antrag auf Erlass einer einstweiligen Verfügung zurückzuweisen,



hilfsweise,



         die einstweilige Verfügung auf die noch nicht ausgedruckten und aufgebundenen
         Exemplare zu beschränken,




Die Antragsgegnerin lst der Ansicht, es bestehe kein Verfügungsgrund, weil die Antragsteller be-

reits seit längerer Zeit von der beabsichtigten Publikation gewusst hätten, mit der Geltend-

machung von Unterlassungsansprüchen aber absichtlich zugewartet hätten, bis das Buch produ-

ziert gewesen sei. Dem Verfilgungsanspruch tritt die Antragsgegnerin ín jeglicher Hinsicht enþ

gegen




Wegen der weiteren Einzelheiten des wechselseitigen Vorbringens wird auf den lnhalt der Schrift'

sätze (einsohließlich der verbundenen Schutzschrift   - 15 AR 28t15 - vom 6. Februar 2015) nebst
Anlagen verwiesen.




Die parteien haben in der mündlichen Verhandlung einen Vergleich mit beiderseitigem Widerrufs-
                                                                                           Ver-
vorbehalt bis zurn Ablauf des 11 . März 2015 geschlossen. Die Antragsteller haben diesen

gleich mit einem am 11. Mäz 2015 be¡ Gericht ôangegangenem Schriftsatz widerrufen.




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                                                      I

                                          Entscheldungsgrllnde



über den Antrag auf Erlass ainer einstweiligen Verfijgung war aufgrund der mändlichen Verhand-

lung durch Urteil zu entscheiden, SS 936, 921 Abs. 1 ZPO, nachdem der Vergleich widerrufen

worden ist,



Der Antrag ist in dem zuletzt noch gestellten Umfang zulässig und begründet.



Der Antrag unterfällt der deutschen Gerichtsbarkeit. Er richtet sich gegen eine inländische Person

mit inländischem Gerichtsstand, die nach der Behauptung der Antragsteller deren für Deutschland

bestehende Urheberrechte verletzt haben soll (vgl, LG Mänchenl         -7 O 11335/00', Urteil vom
24. August 2000, ZUM-RD 2002, 21ff.).



Das Landgericht Berlin ist international und örtlich zuståndig. Der Antrag betrifft Urheþer-
rechtsverlelzungen durch elne in Deutschland agierende Antragsgegnerin, mithin in Deutschland

begangene unerlaubte Handlungen. Die intemationale Zuständigkeit deutscher Gerichte folgt aus

                                                                                     Norm. Das streit'
S 32 ZpO. Die örtliche Zuständigkeit des Landgerichts Berlin folgt aus derselben

gegenständliche Buch wtrd auch in Berlin bestimmungsgemäß verbreitet und öffentlich zugänglich

gemacht, Es ist zwar nichts daftir ersichtlich, dass das Buch auch in Berlin vervielfåltigt wird, diese

Handlung folgt als Vorbereítung aber im lnteresse eines effektiven, einheitlichen Rechtsschutzes

der örtl ichen Zustä nd ig keit der wirtschaftlichen Verwertu n g'



Den Antragstellern steht gegen die Antragsgegnerin ein Verfirgungsanspruch zu



Auf den Fall ist das deutsche Recht anzuwenden. Die Antragsteller beanspruchen urheberrecht'

lichen Schutz f{tr Deutschland. Die Frage, ob Ansprtiche im Falle der VerleEung eines Urheber-
                                                                                                    für
rechts bestehen, ist grundsätzlich nach dem Recht des Schutzlandes, also des Staates,


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                                                 I

dessen Gebíet der SchuE in Anspruch genommen wird, zu beantworten (BGH - I ZR 49/13 -,

 Urteil vom 26, Februar 2014 - Tazan),



Nach deutschem Recht beurteilt sich daher die Frage, ob das Werk schutzfåhig ist. Diese von

Amts wegen vgzunehmende Prüfung haben die Antragsteller dem Gericht zwar nicht ermöglicht,

weil sie das Werk nicht vorgelegt haben (vgl. Schulze in Dreier/Schulze, UrhG, 4. Auflage 2013,

$ 2, Rn. 70). Die Entscheidung über die Schutzfähigkeit unterliegt auch nicht der Disposition der

Parteien. Deren tibereinstimmende Einschåtzung, die Schutzfåhigkeit des Werkes nicht in Frage

zu stellen, kann aber als lndiz fûr die hinreichande lndivídualität gewertet werden. Da der Autor

zudem ein anerkannter Schriftsteller ist, ist die urheberrechtliche Schutzfåhigkeit seiner drei Ge-

schichten als Sprachwerk im Sinne des $ 2 Abs. 1 Nr. 1 UrhG anzunehmen.



Ftir dieses Werk läuft in Deutschland noch die Schutzfrist. Auch die Schutzdauer des Werks ist

nach deutschem Recht zu beurteilen.



Einer Berufung auf g 121 Abs. 1 S. 2 UrhG sleht entgegen, dass die drei Geschichten bereits

mehr als 30 Tage vorher in den USA erschienen sind, zuerst in den 1940er-Jahren und dann wie-

der im Juli 2014. $ 121 Abs. 1 S. 2 UrhG stellt eine Übersetzung des Werkes zwar dem Original-

werk gleich, weil mit der ÜberseÞung zugleich auch das ursprtlngliche Werk erschienen ist (Dreier

in Dreier/Schulze, UrhG,4. Auflage 2013, $121, Rn.3; Wandtke/Bullinger/v. Welser, UrhR,
4. Auflage 2014, $ 121, Rn. 2), Dies gilt aber nur ,mit der gleichen Einschrånkung' nach $ 121

Abs. I S. 1 UrhG, nämlich, dass das Werk oder eine Übersetzung des Werkes nicht früher als

30 Tage vor dem Erschelnen (hier: der ÜberseEung) im Geltungsbereich des UrhG außerhalb die-

ses Gebietes erschienen ist, Das Werk ist auch dann nicht erstmals (oder innerhalb der 30 Tage-

Frist) im Geltungsbereich des UrhG erschienen, wenn es hier zwar erstmals als deutsche Über-

se¿ung, anderswo aber bereits frfiher in der Originalsprache erschienen ist, denn die Über'

se¿ung wird dem Originalwerk nur gleichgestellt, trltt aber nicht eigenstândig neben dieses' Eine

Ausnahme gilt zwar für den Schutz der UrheberpersÖnlichkeitsrechte nach $$ 12     - 14 UrhG, den
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    auslåndische Staatsangehörige nach $ 121 Abs. 6 UrhG für alle ihre Werke beanspruchen dtirfen,

    auch wenn die Voraussetzungen der Absåtze 1 bis 5 des $ 121 UrhG nicht vorliegen (vgl' Dreier in

    Dreier/Schulze, UrhG, 4, Auflage 2013, 5121, Rn. 19), Darauf kommt es hier jedenfalls aber nach

    der Rt¡cknahme des Antrags zu 2. nicht mehr an'



    FUr den urheberrechtlichen Schutz der Antragsteller kommt es vielmehr auf den lnhalt der Staats'

    vertråge an, $ 121 Abs. 4 S, 1 UrhG,



    Nach Art. 1 des fortgeltenden deutsch-amerikanischen Abkommens von 1892 sollen die Biirger
                                                                                                 ge-
    der USA im Deutschen Reich den Schutz des Urheberrechts bezüglich der Werke der Literatur

    gen unbefugte Nachbildung auf derselben Grundlage genießen, wie solcher den Reichsange'

    hörigen gesetzlich zusteht. Den Angehörigen der USA wird danach in Deutschland urheber-

    rech¡icher Schutz nach inländischem Recht gewährt. Auch die Schutzdauer im lnland richtet sich

    ausschließlich nach inländischem Recht, es kommt also nicht darauf an, ob und gegebenenfalls

    wie lange das fragliche Werk in den USA noch gesch{ltzt ist (BGH - I ZR 49113 ', Urteil vom

    26. Februar ZO14   - Tazan), Als die Geschichten in den 1940er-Jahren entstanden (ihrem Er'
                                                                                       genauen Zeiþ
    scheinen nach im Zeitraum zwischen 1940 und 1944, ohne dass hier es auf den

    punkt ankommt), galt das Geselz betreffend das Urheberrecht an Werken der Literatur und der

    Tonkunst (LUG) vom 19. Juni 1901 in der Fassung vom 22. Mai 1910 in Verbindung mit dem

    Schutzfristenverlängerungsgesetz vom 13. Dezember 1934. Gemäß S 29 S' 1 LUG endete
                                                                                                 der

                                                                                                 der
    Schutz des Urheberrechts, wenn seit dem Tod des Urhebers dreißlg Jahre und außerdem seit
                                                                                            1934 auf
    ersten Ver6ffentlichung des Werkes zehn Jahre abgelaufen waren. Diese Frist wurde
                                                                                              mit der
    fünfzig Jahre verlängert. Das Urhebenecht entsteht nach deutschem Rechte automatisch
                                                                                       ab sofort und
    Schaffung des Werkes. Danach waren die Geschichten zur Zeit ihres Entstehens

    S0 Jahre p. m. a. geschützt, also bis zum Jahr 2060, wobei sich die Frist
                                                                                nach $ 34 LUG nach

    dem Ablauf des Todesjahres und nicht nach dem Todestag berechnen, d'
                                                                                h' der schuü gilt bis

    zum Ablauf des Jahres 2060. Auf eine weitere Verlångerung nach SS 64
                                                                                 Abs' 1, 129 Abs' I

    S. 1 UrhG a. F, kommt es ftir die Entscheidung nicht an'
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Das {Jbereinkommen von 1892 wird durch das Welturheberrechtsabkommen (WUA) überlagert.

Dieses ist ftlr Deutschland und die USA am 16. September 1955 in Kraft getreten. Das Abkommen

ist auf die verfahrensgegenständlichen Werke anwendbar, da diese beim lnkrafttreten des Ab-

kommens in Deutschland als dem Vertragsstaat, in dem der Schutz beansprucht wird, geschtttá

war, vgl. Art. Vll WUA. Es kann dahinstehen, ob dle Bestimmungen des WUA von den Be-

stimmungen des Übereinkommens von 1892 im vorliegenden Fall zu einer geringeren Schutz-

dauer filhren und diesem daher nach Art. XIX S. 2 WUA vorgehen könnten. Nach Art. XIX

S. 3 WUA bleiben jedenfalls die Rechte an einem Werk, die in einem diesem Abkommen an-

gehörenden Staat aufgrund bestehender Verträge oder Vereinbarungen erworben worden sind,

bevor dieses Abkommen für diesen Staat in Kraft getreten ist, unber0hrt. Dazu gehören die Rech-

te an einem Werk, die in Deutschland aufgrund des Übereinkommens von 1892 erworben worden

sind, bevor das WUA für Deutschland in Kraft getreten ist. Diese Rechte bleiben in ihrem Bestand

erhalten, zu diesem Bestand gehört auch die Schutzdauer des Rechts (BGH - I ZR 49/13 -, Urteil

vom 26. Februar 2014 - Tazan), Am 16. September 1955 bestand bereits der oben genannte Ur-

heberrechtsschutz an den Geschichten. Dieser wird durch das WUA nicht bertihrt.



Die Revidierte Bemer Übereinkunft (RBÜ) ist im Verhältnis der Bundesrepublik Deutschland zu

den USA in lhrer am24. Juli 1974 in Paris revidiertEn Fassung anwendbar. Sie ist für die Bundes-

republik Deutsohland am 10. Oktober 1974 und fürdíe USA am 1.März 1989 in Kraft getreten.

Das WUA räumt der RBü den Vorrang ein und diese ihrerseits dem Abkommen von 1892. Nach

Arl. 20 S, 2 RBÜ bleiben die Bestimmungen bestehender Abkommen anwendbar, die den Ur-

hebern Rechte verleihen, die itber die ihnen durch die RBÜ gewåhrten Rechte hinausgehen oder

andere Bestimmungen enthalten, die der RBÜ nicht zuwider laufen, Zu diesen Bestimmungen ge'

hÖrt Art. 1 des Abkommene von 1892 (BGH     - I ZR 49t13 -, Urteil vom 26. Februar 2014' Tazan).
Es kommt daher hier nicht darauf an, dass die Werko nach Ansicht der Kammer auch nach Maß-

gabe des RBü noch SchuÞ genießen, so dass sich dazu an dieser Stelle weitere Ausfûlhrungen

ergbrigen, FesÞuhalten bleibt, dass die $chutzfrist für die Werke in Deutschland andauert.



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Þie Antragsteller sind als Trustees berechtigt, die Urheberrechte geltend zu machen.

Antragsteller ist nicht der Trust, sondern sind die beiden Trustees. Diese machen Rechte im eige-

nen Namen geltend. Soweit es in dem Schreiben vom 9. Januar 2015 noch heißt, die Urheber-

rechte seien auf den Trust übertragen worden, ist im nächsten Schriftsatz, der Abmahnung vom

5. Februar 2015, klargestellt worden, dass es tatsächlich um die Trustees geht (Anlage K 15). Die

Antragsteller haben im SchrlftsaE vom 26. Februar 2015 zu lll. hinreichend dargetan und glaub-

haft gemacht, dass der Trust keine juristische Person ist, sondern die Rechte dem Trustee t¡ber'

tragen werden, der díese im eigenen Namen und nicht als Vertreter des Trusts wahrnimmt. Dies

folgt aus dem insoweit maßgeblichen Recht des US-Bundesstaats New Hampshire, insbesondere

2A Corpus Juris Secundum Agency S 24 und $ 564-8: 8-801 und 8-816 Common Law of Trusts
(Anlagen Ast 23 und Ast 24), was die Antragsteller durch die eidesstattliche Versicherung des

örilichen Rechtsanwalts Csatari vom 24. Februar 2015 (Anlage Ast 25) glaubhaft gemacht haben'

Die Antragsgegnerin hat sich damit inhaltlich nicht näher auseinandergesetzt' Für die Rechte-

tibertragung im vorliegenden Fall ist danach folgendes maßgeblich: Am 24, Juli 2008 hat

J. D. Salinger den ,J. D. Salinger Literary Trust* gegrOndet. ln der Einleitung zur Gründungsur-

kunde erklärt J. D. Salinger als Trustee, von sich als Treugeber, das in einer Anlage A aufgeführte

Eigentum erhalten zu haben. ln Artikel I ist vorgesehen, dass weiterEs Eigentum auf die Trustees

gbertragen werden kann. Demnach sollten die Rechte nicht dem Trust selbst, sondern dem/den

jeweiligen Trustee/s übertragen werden. Da diese Urkunde nur die Übertragung einzelner Eigen-
                                                                                    (als Ast 26 vor-
tumsgegenstände enthält und weitere Übertragung ausdrilcklich vorsieht und die

gelegte)              Schedule Au nur den Verweis "see asset list', aber keine solche Liste mit dem
           "annexed
stand 24. Jvli 200g enthält, ist nicht festzuetellen, ob die drei verfahrensgegenständlichen Ge-
                                                                                         der Abtre'
schichten davon bereits erfasst waren. Dies kann aber dahinstehen. Jedenfalls mit

tungserklärung vom 15. Oktober 2008 (Anlage Ast 4t28) hal J. D' Salinger eine
                                                                                       umfassende

                                                                             auch solche Urheber-
Rechteabtretung an den Trustee vorgenommen. Diese Abtretung erfasste
                                                                                 Recht irn Ausland'
rechte, derer sich der Zedent nicht bewusst war, wie etwa nach ausländischem
                                                                              Anhaltspunkt zu ent-
Die Erklårung ist erkennbar auf Lückenlosigkeit angelegt. lhr ist auch kein
                                                                          Zeit der Abtretung in den
nehmen, dass J. D. Salinger solche Werke ausklammern wollte, die zur
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USA bereits gemeinfrei geworden waren. Wie bereits ausgeführt, war ein urhebenechtlicher

SchuÞ solcher Werke im Ausland gleichwohl noch möglich und auch sonst lst kein Grund ersicht-

lich, diese Werke dem Trust vozuenthalten. Dass die Antragsteller die amtierenden Trustees sind,

ist unstreitig. Sie dtlrfen demnach die Urheberrechte an den Geschichten im eigenen Namen als

Trustees wahrnehmen.



DerAntraq zu 1. auf Unterlassung ist nach $$ 97 Abs. 1 S. 1, 23 S. 1, 15 Abs. 1 Nr, 1 und 2 und

Abs. 2 S, 2 Nr. 2, 16 Abs. 1, 17 Abs. 1 und 19 a UrhG begrtlndet'



Die deutsche [Jbersetzung der Geschichten ist eine Bearbeitung im Sinne des $ 23 8' 1 UrhG' Die

Veröffentlichung und Verwertung dieser Bearbeitung setzt die Einwilligung des Urhebers, hier der

Antragsteller, voraus. Die Antragsgegnerin hat die Bearbeitung vervielfältigt ($ 16 Abs. 1 UrhG)'

verbreitet (S 17 Abs. 1 UrhG, Druckausgabe) und öffentlich zugänglich gemacht (S 19 a UrhG,

E-Book), und zwar so, wie unter                      angegeben, ohne dass damit weitere Verwer-
                                   "insbesondere"
tungen ausgeschlossen werden. Fllr elne Begehungsgefahr weiterer solcher Verwertungshand-

lungen bedarf es hier keíner konkreten Anhaltspunkte. Es ist keineswegs untlblich, ein Buch nach

seiner Erstveröffentlichung als gebundene Ausgabe auch in weiteren Formen, etwa als Taschen-

buch oder Lizenzausgabe, zu verwerten. Dle Antragsgegnerin hat keinen Anhaltspunkt dafür dar-

getan, dass dies hier ausnahmsweise auszuschließen ist.



Die Antragsgegnerin handelt rechlswidrig. Eine Einwilligung des Urhebers oder der Antragsteller

fehlt der Antragsgegnerin. Eine Lizenzdes Verlags Devault-Graves Agency mag dassen etwaige

Rechle an seiner neuen amerikanischen Buchausgabe als solcher betreffen, kann hier aber
                                                                                              nicht

die Rechte der Antragsteller gegenstandslos machen,



Der Anspruch besteht verschuldensunabhängig. Aus Sicht der Karnmer hat die Antragsgegnerin
                                                                                   Veröffentlichung
ohnehin jedenfalls fahrlässig gehandelt. Es oblag ihr, sich vor der Bearbeitung,
                                                                         gilt umso mehr, als ihre
und Venrertung grundlich über ihre Berechtigung zu vergewissem. Dies

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€¡genen deutschen Rechtsanwålte die Rechtsmaterie in der SchuÞschrift als zu komplex ftir ein

Eilverfahren, mithin als besonders schwierig, ansehen. Die Antragsgegnerin hat sich - soweit es

ihrem Vortrag zu entnehmen ist - in dieser Lage darauf beschrånkt, einer Erklärung ihrer Lizenz-

geberin zu vertrauen. Was sie zu der Annahme berechtigte, der US-amerikanische Verlag habe

die komplexe Urhebenechtslage in Deutschland zuverlåssig prüfen und belastbar klåren können,

hat sie offen gelassen. Letztlich kommt es darauf filr die Entscheidung aber nicht an,



ÐerAntrag zu f . ist in seinerzuletzt angektlndigten Fassung und bezogen auf Deutschland daher

begrtlndet, Art. 97 Abs. 1 UrhG.



Das Unterlassungsgebot war dabei nicht auf die noch nicht gedruckten oder gebundenen Bücher

zu beschränken. Eine solche Beschränkung ließe das Eilverfahren faktisch leer laufen und verei-

telte einen effektiven Rechtsschutz der Antragsteller. Die Antragsgegnerin verdient einen solchen

Schutz nicht, wie sich aus den Ausftlhrungen zum Verschulden und zu $ 98 Abs. 4 UrhG ergibt.



DerursprtJnglicheAntrag zu 1. enthieltfernerdas Begehren, auch das Bewerben (lassen) zu un-

tersagen. Dieses Ziel verfolgen die Antragsteller nicht mehr. Sie haben damit ihren Antrag zu 1.

teilweise zurÍlckgenommen.



Der ursprüngliche Antrag zu 1. enthielt im Obersatz die Handlungsformen veröffentlichen und ver-

werten. Die Antragsteller haben damit auf die in S 23 S. 1 UrhG genannten Begriffe abgestellt und

auf den Hinweis des Gerichts, dass die Verwertungsformen gemäß SS 15 ff. UrhG im Antrag zu

konkretisieren seien, eine Klarstellung ihres Begehrens vorgenommen, die mit der Antragsbe-

grtindung konespondiert. Dass die Antragsteller mit dem allgemeinen Begriff der Verwertung

darüber hinaus bestimmte weitere oder gar alle nur denkbaren Verwertungsformen verboten

sehen wollten, ist ihrer Antragsbegrtindung dagegen nicht zu entnehmen. Es handelt sich dem-

nach insoweit nur um eine Klarstellung und nicht um eine teilweise Ri¡cknahme des Antrags.



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Die Antragsteller haben mit ihrem Antrag zu 1. ursprünglich Schutz fttr die Länder Deutschland,

Österreich und Schweiz gesucht, sich dann aber auf Deutschland beschränkt. Dies war ím Tenor

entsprechend auszudrtlcken, $ 308 Abs. 1 S. 1 ZPO, Hinsichtlich eines Schutzes in Osterreich

und in der Schweiz haben die Antragsteller ihren Antrag zur{lckgenommen.



Schließlich haben die Antragsteller mit ihrem ursprünglíchen Antrag zu 1. auch die Veröffenþ

lichung des Buches untersagen lassen wollen, Diesen Antrag haben sie nach dem Erscheinen des

Buches in die Fassung ihres neuen Antrags zu 2. geändert.



Den neuen Antrao zu 2. haben die Antragsteller zurtlckgenommen, so dass eine Sachentschei-

dung obsolet geworden ist.



Þen Antraq zu 3. (ursprtlnglich Antrag zu 2,) haben die Antragsteller hinsichtlich seines zweiten

Teils (Downloadangebote) zurtickgenommen.



Hinsichtlich des ersten Teils (Druckexemplare) ist der Antrag zu 3. begrtlndet, $ 98 Abs. 2

Fall 1 UrhG. Danach kann, wer das Urheberrecht oder ein anderes nach diesem Gesetz ge-

schutztes Recht widerrechtlich verletzt (wie festgestellt), von dem Verletzten auf Rückruf von

rechtswidrig hergestellten, verbreiteten oder zur rechtswidrigen Verbreitung bestimmten Verviel-

fältigungsstilcken in Anspruch genommen werden,



Dieser Anspruch besteht nur, soweit der Verletzer tatsåchliche oder rechtliche MÖglichkeiten zur

Einflussnahme hat. Rtlckruf bedeutet, dass der Verletzer an seine Abnehmer und Händler weiterer

Handelsstufen herantritt und sie gegen Erstattung des Kaufpreises zur Rtickgabe der rechts'

verleÞenden Werkexemplare auffordert. Ob der Rückruf Erfolg hat, liegt nicht in der Macht des

Rückrufenden, der Erfolg des Rtlckrufs ist milhin nicht geschuldet (Dreier in Dreier/Schulze, UrhG,

4. Auflage 2013, S 98, Rn, l7). Die Antragsgegnerin kann sich nicht damit entlasten, sie habe das

Eigentum an den ausgelieferten Btichern bereits an ihre Abnehmer {,lbertragen. Auch wenn sie
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 keinen rechtlich durchsetzbaren Anspruch auf eine Rtlckgabe der Btlcher hat, ist der Anspruch

 nicht auf etwas Unmögliches gerichtet. Der Antragsgegnerin bleibt es latsächlich möglich, ihre Ab-

 nehmer unter Hinweis auf die gegenüber ihr titulierte Verpflichtung nachhaltig aufzufordern, die

Bücher gegen Kostenerslattung zuräck zu geben. Es ist keineswegs ausgeschlossen, dass damit

zumindest ein Teil der rechtsverletzend.en Werkexemplare zurückgerufen werden können, zumal

die so Angesprochenen ihr eigenes Risiko bei einer Fortsetzung der Verbreitung zu bertlcksichti-

gen haben werden (s, a. Wandtke/Bullinger/Bohne, UrhR, 4. Auflage 2014, R 98, Rn. 38 - 39),



Þie Antragsteller begehren mit ihrem Antrag nicht mehr, wie sich aus ihrem Schriftsatz vom

2. März 2015 ergibt. lnsbesondere ist ihrem Vortrag nicht zu entnehmen, dass sie die Antragsgeg-

nerin über ein aktives, ernsthaftes Bemühen um einen Rückruf auch zu dessen Erfolg verpflichten

lassen wollen. Ein solcher Rückruf nimmt die Hauptsacheentscheidung nicht ln unzulåssiger

Weise vorueg, Vielmehr bleibt es der Antragsgegnerin unbenommen, den Vertrieb der Bticher

spåter gegebenenfalls wieder aufzunehmen. Die Geltendmachung des Rtickrufsanspruchs ist

nlcht auf einen Hauptsacheprozess beschränkt. Das Gesetz sieht, anders als etwa bei der Diffe-

renzierung eines Auskunftsbegehrens nach S 100 Abs. 7 UrhG, keine Ausklammerung des An-

spruchs aus g 98 Abs. 2 UrhG für das einstweilige Verftlgungsverfahren vor. Unabhångig von $ 98

Abs. 2 UrhG ist die Rtlckrufpflicht ohnehin ein Bestandteil der Unterlassungsverpflichtung, dle sich

nicht in einem bloßen Nichtstun erschöpft, sondern auch zur Beseitigung eines zuvor geschaffe-

nen Zustandes verpflichtet (vgl, KG - 5 W 253/10 -, Beschluss vom 2. November 2010, zum

UWG). Die Gewåhrung effektiven Rechtsschutzes gebietet daher die Anwendung des $ 98

Abs, 2 UrhG auch im einstweiligen RechtsschuÞ,



Es ist nicht erkennbar, dass die Verpflichtung zu einem solchen Rtlckruf unverhåltnismåßig im

Sinne des S gB Abs. 4 UrhG wäre. Die Antragsgegnerin ist - wie bereits ausgefilhrt - nicht schuld-

los in die Situation hineingeraten, sie ist vielmehr der agierende Part. Sie kann den Antragstellern

nicht vorhalten, sie håtten den $chaden durch ein zögerliches Verhalten gefördert und wollten ihr

schaden. Die Antragsgegnerin konnte bereits dem Schreiben vom 9. Januar 2015 entnehmen,
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 dass keine Einwilligung erteilt werden soll, Sie hat nicht dargetan, wann die erste Auflage des

 Buches gedruckt und gebunden war, ob also eine frtihere lnanspruchnahme durch die Antrag-

steller überhaupt etwas anderes hätte bewirken können. Wäre ihr an einer früheren Klårung der

Rechte und des Risikos mit den Antragstellern gelegen gewesen, håtte sie diese selbst vorher an-

sprechen können, anstatt sich auf eine Erklärung der Lizenzgeberin zu verlassen und es den An-

tragstellern zu tiberlassen, selbst die Veröffentlichung in Deutschland zu entdecken, Spåtestens

nach dem Schreiben vom 9. Januar 2015 hätte die Antragsgegnerin die Veröffentlichung oder zu-

mindest die Auslieferung an den Handel vort¡bergehend aufschieben können, um die jetzt entstan-

dene Lage zu verhindern, zumal ein tagesaktueller Bezug des Buches, der eine besondere Eile

hätte rechtfertigen können, nicht zu erkennen ist.



Es besteht auch ein Verftlgungsgrund im Sinne der $$ 935, 940 ZPO. Den Antragstellern ging es

ursprünglich darum, die unmittelbar bevorstehende VerÖffentlichung des Buches zu verhindern.

Nunmehr wollen sie die Folgen der Veröffentlichung minimieren. Beide Begahren sind dringlich

und nicht auf einen Prozess in der Hauptsache zu verweisen,



Ein dringlichkeitsschådliches Verhalten der Antragsteller ist nlchl fesEustellen. lm Kammer-
gerichtsbezirk gilt grundsätslich eine Dringlichkeitsfrist von zwei Monaten ab Kenntnis der ftir eine

Antragstellung erforderlichen Umstände, Davon ist im lnteresse der Rechtssicherheit allenfalls in

besonders extremen Umständen des Einzelfalls abzuweichen (vgl, KG - 5 W 295/10 -, Beschluss

vom 14. Dezember 2010). Eln solcher Ausnahmefall liegt hier nicht vor.



Die Antragsteller haben glaubhaft gemacht, selbst erstmals am 22. Dezember 2014 davon erfah-

ren zu haben, dass die Antragsgegnerin das Buch zu veröffentlichen anktJndigt. Dle Antragsteller

durften aus ihrer vorherigen Kommunikation mit dem amerikanischen Verlag davon ausgehen,

dass dieser jedenfalls für Europa keine Lizenz verkaufr hat und mussten den weltweiten Markt
                                                                                                  Es
nicht aktiv beobachten. Die Dringlichkeitsfrist begann daher am 22. Dezember 2014 zu laufen'

kann dahin stehen, ob die Kanzlei der heimischen Rechtsanwälte der Antragsteller diese
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 Kenntnisse bereits am 18, Dezember2014 hatte und ob diese Kenntnisse den Antragstellern ohne

Weiteres zuzurechnen ist, da ein Abstellen auf den 18. Dezember 2A14 als Beginn der Dringlich-

keitsfrist nichts änderte. Es besteht kein Grund, die Zweimonatsfrist ausnahmsweise zu verküzen.

Zugunsten der Antragsteller ist zu bertlcksichtigen, dass es sich um amerikanische Petenten

handelt, die einen größeren Übersetzungs-, Pr{lfungs- und Abstimmungsaufirvand haben als etwa

ein deutscher Rechteinhaber, Der Trust hat zwar erst am 9. Januar 2015 eine Berechtigungsnach-

frage gemacht, nach deren Beantwortung am 16. Januar 2015 die Antragsteller drei Wochen bis

zur Abmahnung vergehen ließen. Díe Antragsgegnerin musste aber bereíts dem Schreiben vom

9. Januar 2015 entnehmen, dass von Sêiten des Autors eine mangelnde Zustimmung gegen die

Verötfentlichung des Buches geltend gemacht wird. Eine solche Prüfungs- und Abstimrnungsfrist

war den Antragstellern angesichts der komplexen Rechtsfragen auch in Ansehung einer bevor-

stehenden Buchveröffentlichung, die damals aber erst fär den L Mäz 2015 angekündigt war,

zuzubilligen. Ab dem 9. Januar 2015 musste die Antragsgegnerin mit rechtlichen Schwierigkeiten

rechnen und es war ihr eigenes Risiko, die Veröffentlichung unveråndert forÞusetzen oder sogar

noch zu forcieren, Der Antrag ist am 6. Februar 2015 und damit selbst bei einem Fristbeginn am

18. Dezember 2015 innerhalb der Zweimonatsfrist eingegangen, so dass die Dringlichkeit zu be-

jahen ist.



Die Kostenentscheidung beruht auf $ 92 Abs. 1 S. 1 Fall 1 und S. 2 ZPO. Dabei war zu berück'

sichtigen, dass die Antragsteller die Herausgabe und den Vertrieb des Buches umfassend in

dreiLåndem verbieten oder rtrckgängig gemacht sehen wollten. Die Änderung des Teilantrags

zu 1., die Veröffentlichung zu untersagen, in den neuen Antrag zu2,,die Veröffentlichung zu be-

sei¡gen, hat die Verfahrensbevollmåchtigte der Antragsteller im Verhandlungstermin damit be-

gründet, es solle über einen Rtlckruf aus dem Buchhanåel hinaus erreicht werden, die Bücher

überall dort, wo sie sich mittlerweile befinden, zurilck zu holen, was als ein Minus zur Unterlassung

der Veröffen¡ichung anzusehen sei. Die Antragsteller haben ihre Anträge wegen der Veröffent-

lichung bzw. deren Beseitigung insgesamt zurllck genommen. Dasselbe gilt für das Verbot des

Werbens, auch wenn diesem nach Ansicht des Gerichts im Verhältnis zu den eigentlichen
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Verwertungshandlungen nur ein verhältnismäßig geringes Gewicht beizumessen war. Die Antrag-

steller haben ferner ihre Antrêige zurtick genommen, soweit sie auf die Lånder Osterreich und

Sohweiz bezogen waren. Schließlich haben sie lhren Antrag zu 3. (ursprtinglicher Antrag zu 2.)

hinsichtlich der Downloadangebote zurückgenommen. Diesem. Antrag haben die Antragsteller

zwar ein über das bloße Unterlassen hlnaus gehendes lnteresse beigemessen. Dieses lnteresse

ist nach Ansicht der Kammer jedoch in faktischer Hinsicht gering zu bewerten, da das Ziel bereits

mit ainer Unterlassungsverpflichtung im Wesentlichen zu erreichen ist. Berücksichtigt man man-

gels anderer greifbarer Grundlage die Bevölkerungszahlen der drei betroffenen Länder
(Deutschland gut 80 Mio., Osteneich und Schweiz jeweils gut       I Mio.) und überträgt dieses Ver-
håltnis auf den Umfang potentieller Nachfrage und geht man ferner davon aus, dess die Antrag-

steller filr den maßgeblichen Zeitpunkt der Entscheidung mit den tenorierten Unterlassungs- und

R{Jckrufpflichten in Deutschland ihre Ziele in wesentlichen Teilen erreicht haben, so halten sich die

jeweiligen Obsiegens- und Unterliegensanteile insgesamt die Waage. Die Kosten waren daher ge-

genei nander aufzuheben.




Hinsichtlich der Unterlassungsverpflichtung waren antragsgemäß die geseElichen Ordnungsmittel

nach $ 890 Abs. 1 ZPO anzudrohen. Die Zwangsvollstreckung der Rtlckrufverpflichtung richtet

sich nach S 888 Abs. 1 ZPO, eine Androhung der Zwangsmittel findet nicht statl, $ 888
Abs, 2 ZPO.



Die nicht nachgelassenen Schriftsåtze der Antragsgegnerin vom 12. und 23, Mätz 2015 gaben

keinen Grund zu weiterer Veranlassung, sie konzentrieren sich auf Rechtsfragen und enthalten

keinen entscheidungsrelevanten neuen Sachvortrag.



Meyer-Schäfer                                    Schaber                                    Raddatz




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Ausgefertigt
 Berlin,07.04.


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